         Case:12-05296-BKT7 Doc#:91 Filed:11/08/19 Entered:11/08/19 07:47:47                Desc:
                              Payment Of Bond Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:
                                         Case No. 12−05296 BKT
EDNA MARGARITA LORENZO BONET
aka EDNA MARGARITA LORENZO, aka EDNA M
LORENZO, aka EDNA SANCHEZ, aka EDNA RUIZ Chapter 7


xxx−xx−0606
                                                            FILED & ENTERED ON 11/8/19

                        Debtor(s)



                                                      ORDER

The trustee's petition for payment of premium bonds, docket entry #90, is hereby granted.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Friday, November 8, 2019 .
